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REVIEWS
Six Persistent Research Misconceptions
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Scientific knowledge changes rapidly, but the concepts                  Misconception 1. There is a hierarchy of study designs;
and methods of the conduct of research change more                      randomized trials provide the greatest validity, followed by
slowly. To stimulate discussion of outmoded thinking                    cohort studies, with case–control studies being least reliable.
regarding the conduct of research, I list six misconcep-
tions about research that persist long after their flaws
                                                                            Randomized trials, though often considered the “gold
have become apparent. The misconceptions are: 1)
There is a hierarchy of study designs; randomized trials                 standard” of study types, are not perfect, even in concept.
provide the greatest validity, followed by cohort studies,               Furthermore, the premise that the comparative validity of
with case–control studies being least reliable. 2) An                    study results can be inferred from the type of study is wrong.
essential element for valid generalization is that the                      Although some believe that evidence from a randomized
study subjects constitute a representative sample of a                   trial is as compelling as a logical proof, no empirical finding
target population. 3) If a term that denotes the product                 can provide absolute certainty. If randomized trials were
of two factors in a regression model is not statistically
                                                                         perfect, how could they give divergent results? In fact, they
significant, then there is no biologic interaction between
those factors. 4) When categorizing a continuous vari-                   are subject to various errors.1 Obviously there is random
able, a reasonable scheme for choosing category cut-                     error, as one would expect from a study based on random
points is to use percentile-defined boundaries, such as                  assignment. But there is also systematic error, or bias. For
quartiles or quintiles of the distribution. 5) One should                example, randomized trials are usually analyzed using the
always report P values or confidence intervals that have                 “intent to treat” principle, which compares the groups that
been adjusted for multiple comparisons. 6) Significance                  are initially assigned by randomization, regardless of any
testing is useful and important for the interpretation of
                                                                         subsequent non-adherence. Non-adherence results in under-
data. These misconceptions have been perpetuated in
journals, classrooms and textbooks. They persist be-
                                                                         estimation of any treatment effect. This bias is usually
cause they represent intellectual shortcuts that avoid                   considered acceptable because it is outweighed by the
more thoughtful approaches to research problems. I                       advantages achieved by random assignment. Underestima-
hope that calling attention to these misconceptions will                 tion of effects, however, is not acceptable in a safety trial
spark the debates needed to shelve these outmoded                        aimed at uncovering adverse effects of the treatment.
ideas for good.                                                          Another important source of bias in a randomized trial
                                                                         comes from errors in assessing the outcome, such as
KEY WORDS: study design; data interpretation; epidemiologic methods;     undercounting of outcome events. Also, even if randomi-
representativeness; evaluation of interaction; multiple comparisons;     zation provides a balance of risk factors between groups at
percentile boundaries; statistical significance testing.                 the start of the trial, with extended follow-up, the study
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                                                                         groups may become progressively imbalanced through
© The Author(s) 2014. This article is published with open access at      differential attrition or changes in risk factor distributions.
Springerlink.com                                                         With long-term trials, the benefits of random assignment
                                                                         may therefore fade with time.
                                                                            In short, trials are far from perfect. Furthermore, both
  surprising number of misconceptions persist in the                     cohort and case–control studies will yield valid results when
A conduct  of research involving human subjects. Some                    properly designed and carried out. Therefore, mindlessly
persist despite teachings to the contrary, and some because              ascribing greater validity to a study based on a hierarchy of
of teachings that should be to the contrary. To spark                    designs2,3 is fallacious. For example, the relation between
discussion of these issues, I list here six persistent research          cigarette smoking and lung cancer is well established, based
misconceptions, and offer a capsule summary of the                       on findings from cohort and case–control studies. The
problems with each of them.                                              connection was never shown clearly in a randomized trial. It
                                                                         is not easy to assign people randomly to smoke or not
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                                                                         smoke; however, when smoking cessation was studied as
Accepted December 18, 2013                                               part of a multi-pronged intervention in the randomized
Published online January 23, 2014                                        Multiple Risk Factor Intervention Trial,4 those who were


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urged to cease smoking actually developed more lung               whereas a poorly designed trial can be unreliable. The
cancer than those who did not receive the cessation               type of study should not be taken as a guide to a study’s
encouragement. The results of the trial did not overthrow         validity.
the findings of the many cohort and case–control studies
                                                                  Misconception 2. An essential element of making valid
conducted without randomization. Rather, the discrepancy
                                                                  generalizations from a study is that the study subjects
was ascribed to problems with the trial.
                                                                  constitute a representative sample of a target population.
   In another high-profile example, results from large cohort
studies5,6 indicated that risk of coronary heart disease was         This misconception is tied to the view that scientific
reduced among postmenopausal hormone users, but later             generalization involves the mechanical extrapolation of
results from two randomized trials indicated either no            results from a sample to its source population. But that
association or an increased risk.7,8 The reaction in the          describes statistical generalization; scientific generalization
scientific community and the popular press9 was to discredit      is different: it is the process of constructing a correct
the results from the cohort studies, presuming that they had      statement about the way nature works.
been refuted by the randomized trials. Many continue to              Scientific generalization is the ultimate goal of scientific
believe that interpretation, but in an elegant reanalysis,        inquiry, but a prerequisite is designing a study that has
Hernan et al.10 showed that the study populations in the          internal validity, which is enhanced by keeping all
cohort studies and the randomized trials were different, and      disturbing variables constant. When have we heard of
that the effects of postmenopausal hormone use varied             animal researchers who seek a statistically representative
greatly according to age and time since menopause. When           sample of animals? Instead, their operating principle is
studies were restricted to new users of hormones, Hernan et       nearly the opposite of seeking representativeness. Thus,
al. showed that differences in the distribution of age and        biologists studying mice prefer to study mice that are
time since menopause could explain all of the apparent            homogeneous with respect to genes and environment, and
discrepancies. Although it is common to ascribe such              that differ only in respect to the experimentally manipulated
discrepancies to inherent weaknesses of the nonexperimen-         variable. Unlike the statistical generalization of opinion
tal studies, it is simplistic to assign validity based on a       polls or survey sampling, which merely calls for extrapo-
presumed hierarchy of study types.11                              lation from sample to source population, scientific general-
   Similarly, discrepancies between cohort studies and case–      ization proceeds by informed guesses, but only from the
control studies should not be explained away superficially        secure platform of a valid study. Consequently, studies are
by a presumed validity advantage for cohort studies over          stronger if they limit variability of confounding factors, as
case–control studies. Properly designed case–control studies      opposed to seeking representativeness. Doll and Hill14
will produce the same results as properly designed cohort         studied the mortality of male British physicians in relation
studies. When conflicts arise, they could stem from               to their smoking habits. Their findings were considered
problems in either or both types of study. Although case–         broadly generalizable despite the fact that their study
control studies have long been disparaged as being                population was unrepresentative of the general population
backwards versions of cohort studies, starting from disease       of tobacco users with regard to sex, race, ethnicity, social
and tracing back to possible causes, epidemiologists today        class, nationality and many other variables.
understand case–control studies to be conceptually identical         When there is a legitimate question about whether an
to cohort studies, apart from an efficiency gain that comes       overall association varies by subgroup of some third
from sampling the denominators rather than conducting a           variable, such as age or ethnic group, it may be necessary
complete census. Indeed, the efficiency gain may allow            to include people drawn from a broad range of values of
more resources for exposure assessment or case validation         that third variable, but even then it is counterproductive for
in case–control studies, resulting in less bias than in           the study population to be representative of the source
corresponding cohort studies of the same relation.                population for that variable. The goal in that case would be
   Those who view case–control studies as backwards               to include study subjects distributed evenly across the
versions of cohort studies sometimes make the false               range, or in a distribution that enhances overall study
analogy that the controls should closely resemble the cases,      efficiency. A sample that is representative of the source
except that they lack the case-defining disease. In fact, the     population will be suboptimal.15,16
control group in a case–control study is intended to be a
                                                                  Misconception 3. If a term that denotes the product of
sample of the population denominator that gives rise to the
                                                                  two factors in a regression model is not statistically
cases, a substitute for the full denominators obtained in a
                                                                  significant, then there is no biologic interaction between
cohort study. Thus, the control group should resemble the
                                                                  those factors.
entire study population, rather than the cases.12,13 When
properly designed, case–control studies can achieve the              “Biologic” is meant here broadly, to encompass biochem-
same excellent validity as properly designed cohort studies,      ical, psychological, behavioral and physical interactions. The
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problem is that interaction is usually evaluated through            appears attributable to biologic interaction, despite the
regression models, in which the product term addresses              authors’ claim that there was no interaction.
statistical interaction rather than biologic interaction.
                                                                    Misconception 4. When categorizing a continuous variable,
    Biologic interaction refers to two or more causes acting
                                                                    a reasonable scheme for choosing category cut-points is to
in the same mechanism, with effects that are mutually
                                                                    use percentile-defined boundaries, such as quartiles or
dependent. It describes a state of nature. If basic effects are
                                                                    quintiles of the distribution.
measured as changes in disease risk, synergistic (i.e.
positive) biologic interaction is present when the joint               There are two reasons why using percentiles is a poor
effect of two causal factors is more than the sum of their          method for choosing category boundaries. First, these bound-
effects acting separately.17 In contrast, statistical interaction   aries may not correspond to the parts of the distribution where
does not describe nature; it describes a mathematical model.        biologically meaningful changes occur. Suppose you were
It is typically assessed with a product term for two variables      conducting a study of vitamin C intake and scurvy risk in the
in a regression model. Its magnitude depends on the choice          U.S. If you decided to categorize vitamin C intake by quintiles,
of measures and scale of measurement. Statistical interac-          you would find that the entire relation between vitamin C
tion implies only that the basic functional form of a specific      consumption and scurvy was confined to the lowest quintile,
mathematical model is not an apt description of the relation        and within that category, to only a small proportion of people
among variables. Two factors that show biologic interaction         who were outliers in their low vitamin C intake. 10 mg/day of
may or may not exhibit statistical interaction, depending on        vitamin C can prevent scurvy, but those consuming less than
the model used.                                                     that represent a fraction of 1 % of the population in the U. S.20
    Product terms in regression models have units that can          Using percentile-based categories would make it impossible to
defy interpretation. If one variable is fat consumption,            find the effect of inadequate vitamin C intake on scurvy risk,
measured in grams per day, and another variable is pack-            because all intake above 10 mg/d is essentially equivalent. If
years of cigarettes smoked, what is the interpretation of a         we routinely use percentile cut-points, we may not know if we
variable that has units of grams/day multiplied by pack-            are facing the same problem as we would face in the study of
years? The challenge of interpreting such product term              vitamin C and scurvy. A more effective alternative would be to
coefficients has fostered a focus on the p value accompa-           begin with many narrow categories, merging neighboring
nying the coefficient, rather than the magnitude of the             categories until meaningful breaks in risk become evident.
coefficient itself. Focusing on the pvalue, or on whether the          The second problem with percentile-based categories is the
coefficient of a product term is statistically significant, only    difficulty in comparing results across studies, because catego-
worsens the problem of mistaking statistical interaction for        ries across studies using percentile category boundaries are
biologic interaction (see misconception 6). A more mean-            unlikely to correspond. This problem can be averted by
ingful assessment of interaction would be to focus on the           expressing boundary points in terms of the natural units of the
proportion of cases of a disease that one could attribute to        variable (such as mg/d for vitamin C intake). It is also useful to
biologic interaction.17,18                                          report within-category means or medians.
    Consider a simple example from the TREAT trial (Trial to
                                                                    Misconception 5. One should always report P values or
Reduce Cardiovascular Events with Aranesp Therapy),19
                                                                    confidence intervals that have been adjusted for multiple
which evaluated the risk of stroke among 4,038 patients with
                                                                    comparisons.
diabetes mellitus, chronic kidney disease, and anemia ran-
domized to receive darbepoetin alfa or placebo. Among                  Traditional adjustments for multiple comparisons involve
patients without a history of stroke, the risk of stroke during     inflating the P value or the width of a confidence interval
the study period was 2 % among patients receiving placebo           according to the number of comparisons conducted. If one
and 4 % among patients receiving darbepoeitin alfa. Among           is analyzing biological data that are replete with actual
patients with a history of stroke, the corresponding risks were     associations, the premise for traditional adjustments is
4 % and 12 %. The authors noted that the risk increase was          shaky and the adjustments are difficult to defend. The
greater for darbepoeitin alfa among those with a history of         concern for multiple comparisons stems from fear of finding
stroke, but they dismissed this interaction because the product     falsely significant findings (type I errors in the lingo of
term in a logistic regression model was not statistically           statistics). In misconception 6, we discuss the problems
significant. The increased risk attributable to darbepoeitin alfa   with using statistical significance testing for data analysis in
was 2 % in the patients without a history of stroke and 8 %         the first place. But before considering those problems, let us
among patients with a history of stroke, indicating strong          consider the rationale for adjusting reported results for
biologic interaction between darbepoeitin alfa and history of       multiple comparisons.
stroke. If the risks were merely additive, the risk would be 6 %       Despite the fact that a single significance test is intended
among those with both risk factors, instead of the actual 12 %.     to have a 5 % probability (at the conventionally used level)
Thus, half of the risk among those with both risk factors           of being significant when the null hypothesis is true, and
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therefore multiple tests when properly carried out should           goal: estimation of effects is decidedly preferable to
each have this property, there is a concern that when               statistical testing. Ideally, a study estimates the magnitude
making multiple tests, the probability of a spurious result is      of the effect size, and analyzes the possible errors that might
increased. Of course, as the number of tests increases, the         have distorted it. Systematic errors such as confounding
probability that one or more of them would be falsely               from measured factors can be dealt with through analytic
positive increases, but that is only because many tests are         methods; other systematic errors, such as the effects of
being conducted. Adjustments for multiple comparisons               measurement error or selection bias, can be addressed
will reduce these type I errors, but they do so at the expense      through sensitivity analyses (also known as bias analysis).
of increasing type II errors, which are nonsignificant test         Random error is typically expressed through confidence
results in the presence of a real association. When observed        intervals, giving a range of parameter values that are
associations are all the result of chance, type I errors can        consistent with the data to a specified level.
occur, but type II errors cannot occur. Conversely, when the           It is unfortunate that a confidence interval, from which both
observed associations all reflect actual relationships, type II     an estimate of effect size and its measurement precision can be
errors can occur, but type I errors cannot. Thus, the context       drawn, is typically used merely to judge whether it contains
of any analysis has fundamental implications regarding the          the null value or not, thus converting it to a significance test.
interpretation of the data. In particular, it is absurd to make     Significance tests are a poor classification scheme for study
adjustments that reduce type I errors at the expense of             results; strong effects may be incorrectly interpreted as null
increasing type II errors without some evaluation of the            findings because authors fallaciously interpret lack of statis-
estimated relative cost and frequency of each type of error.        tical significance to imply lack of effect, or weak effects may
   If scientists were put to work studying random numbers           be incorrectly interpreted as important because they are
instead of biologic data, all the significant results they          statistically significant. Rather than be used as surrogate
reported would represent type I errors, and adjustments for         significance tests, confidence intervals ought to be interpreted
multiple comparisons would make sense; some skeptics                as quantitative measures indicating magnitude of effect size
believe that studies of genome-wide association scans may           and degree of precision, with little attention paid to the precise
approximate this situation.21 But when scientists are               location of the boundaries of the confidence interval. This
studying biological relations rather than random numbers,           advice is backed by the Uniform Requirements for Manu-
the premise that type I errors are the major concern may be         scripts Submitted to Biomedical Journals, but nevertheless
wrong.22 A more rigorous evaluation of the need for                 often overlooked even by reviewers and editors whose
multiplicity adjustments would begin with an assessment             journals support the requirements.29
of the tenability of the thesis that the data are essentially          Many misconceptions derive from reliance on statistical
random numbers. If one is studying experiments on psychic           significance testing. The focus on the statistical significance
phenomena, skepticism about the results might lend support          of interaction terms instead of measuring interaction, as
to multiplicity adjustments. If one is studying physiologic         discussed above, is one example. The evaluation of dose–
effects of pharmaceutical agents, real associations are to be       response trends simply by declaring that there is or is not a
expected and the adjustments are more difficult to defend.          significant trend, rather than expressing the magnitude and
Studying single nucleotide polymorphisms in relation to a           ideally the shape of that trend, is another. Yet another is the
given disease might be a middle ground. One approach to             advice sometimes offered to calculate the power of a study
this issue that is theoretically more defensible is a Bayesian      when reporting results, especially if those results are not
approach, which assigns prior credibility to various levels         statistically significant. Reporting the power of a study as
of association and adjusts by using Bayes’ theorem to               part of the results is called “post-hoc” power calculation.30
calculate posterior credibility.23,24                               Power calculations are based on a hypothesis about the
                                                                    level of association that is to be distinguished from a null
Misconception 6. Significance testing is useful and impor-
                                                                    association, but when the study results are on hand, there is
tant for the interpretation of data.
                                                                    no longer any need to hypothesize about the magnitude of
   Significance testing has led to far more misunderstanding        the association, because you now have an estimate of it. A
and misinterpretation than clarity in interpreting study            confidence interval for the estimated association conveys all
results.25–28 A significance test is a degraded version of          the relevant information; nothing further is to be gained
the P value, a statistic that blends precision with effect size,    from a power calculation.
thus confusing two essential aspects of data interpretation.           The unfortunate consequence of the focus on statistical
Measuring effect size and its precision as separate tasks is a      significance testing has been to foster a dichotomous view
more direct and clearer approach to data interpretation.            of relationships that are better assessed in quantitative
   For research studies that aim to measure associations, and       terms. This distinction is more than a nicety. Every day
infer whether they reflect causal connections, focusing on          there are important, regrettable and avoidable misinterpre-
the magnitude of these associations ought to be the primary         tations of data that results from the confusing fog of
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